Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 1 of 22 Page ID #:1542




      1   Douglas G. Muehlhauser (SBN 179495)
          doug.muehlhauser@knobbe.com
      2
          KNOBBE, MARTENS, OLSON & BEAR, LLP
      3   2040 Main Street
          Fourteenth Floor
      4
          Irvine, CA 92614
      5   Phone:      (949) 760-0404
          Facsimile: (949) 760-9502
      6
      7   Peter W. Peterson (pro hac vice)
          David R. Pegnataro (pro hac vice)
      8
          delpet@delpet.com
      9   DeLIO PETERSON & CURCIO LLC
     10   700 State Street, Suite 402
          New Haven, Connecticut 06511
     11   Phone:       (203) 787-0595
     12   Facsimile: (203) 787-5818

     13   Attorneys for Defendant
     14   AVM INDUSTRIES, INC.

     15
                      IN THE UNITED STATES DISTRICT COURT
     16             FOR THE CENTRAL DISTRICT OF CALIFORNIA
     17                                             )   Case No. 2:19-cv-07475-MWF-RAO
              GCP APPLIED
     18   TECHNOLOGIES INC.,                        )
                                                    )   Hon. Michael W. Fitzgerald
     19                                             )
                     Plaintiff,
     20                                             )   DECLARATION OF DAVID R.
               v.                                   )   PEGNATARO IN SUPPORT OF
     21                                             )   DEFENDANT’S MOTION NOS. 1-
          AVM INDUSTRIES, INC.,                     )   7 FOR SUMMARY JUDGMENT
     22
                                                    )   AND/OR PARTIAL SUMMARY
     23              Defendant.                         JUDGMENT
                                                    )
     24   ________________________________

     25
     26
     27
     28
                                              -1-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 2 of 22 Page ID #:1543




      1           I, David R. Pegnataro, hereby declare as follows:
      2
                  1. I am an attorney licensed to practice in the State of Connecticut and
      3
          admitted pro hac vice in the Central District of California. I am an associate
      4
      5   with the law firm of DeLio, Peterson & Curcio LLC, and am counsel for
      6
          Defendant AVM Industries, Inc. ("AVM") in the above-captioned action.
      7
                  2. I am over 18 years of age. I have personal knowledge of the facts set
      8
      9   forth herein, and if called upon to testify, I could and would testify competently
     10
          thereto.
     11
     12           3. Attached hereto as Exhibit 1 is a true and correct copy of plaintiff GCP

     13   Applied Technologies, Inc.'s ("GCP") Second Amended Complaint (Dkt. 40).
     14
                  4. Attached hereto as Exhibit 4 is a true and correct copy of Wiercinski
     15
     16   U.S. Patent No. 8,713,879 ("the '879 Patent").

     17           5. Attached hereto as Exhibit 24 is a true and correct copy of Wiercinski
     18
          U.S. Patent No. 9,746,196 ("the '196 Patent").
     19
     20           6. Attached hereto as Exhibit 26 is a true and correct copy of a GCP Pre-

     21   applied Waterproofing Presentation dated March 18, 2019, production labeled
     22
          GCP00056377 through GCP00056423.
     23
     24           7. Attached hereto as Exhibit 66 is a true and correct copy of the Portland

     25   Cement Association publication entitled "White Cement Concrete" by James A.
     26
          Farny      ("Farny   Pub."),    production    labeled   GCP00002876        through
     27
     28   GCP00002905.

                                                  -2-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 3 of 22 Page ID #:1544




      1         8. Attached hereto as Exhibit 67 is a true and correct copy of Serwin U.S.
      2
          Patent No. 7,776,432 ("Serwin '432").
      3
                9. Attached hereto as Exhibit 69 is a true and correct copy of Fensel U.S.
      4
      5   Patent No. 6,933,007 ("Fensel '007").
      6
                10. Attached hereto as Exhibit 70 is a true and correct copy of Metzler
      7
          U.S. Patent No. 4,218,260 ("Metzler '260").
      8
      9         11. Attached hereto as Exhibit 71 is a true and correct copy of Wiercinski
     10
          U.S. Patent No. 6,500,520 ("Wiercinski '520").
     11
     12         12. Attached hereto as Exhibit 72 is a true and correct copy of the August

     13   2008 Concrete International article entitled "Solar Reflectance Values of
     14
          Concrete" by Medgar L. Marceau and Martha G. VanGreem ("Marceau Pub.").
     15
     16         13. Attached hereto as Exhibit 73 is a true and correct copy of the Oregon

     17   Department of Geology and Mineral Industries publication entitled "A
     18
          Description of Some Oregon Rocks and Minerals" by Hollis M. Dole and
     19
     20   prepared by Lawrence L. Brown ("Hollis Pub").

     21         14. Attached hereto as Exhibit 74 is a true and correct copy of the
     22
          publication "White Cement – Properties, Manufacture, Prospects" submitted
     23
     24   January 6, 2000 and accepted March 12, 2001 by Karterina Moresová, and

     25   Frantisek Skvára ("Moresová").
     26
     27
     28
                                                  -3-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 4 of 22 Page ID #:1545




      1         15. Attached hereto as Exhibit 80 is a true and correct copy of the GCP
      2
          2016 National Sales Meeting Presentation: Pre-applied Waterproofing
      3
          presentation, production labeled GCP00002498 through GCP00002536.
      4
      5         16. Attached hereto as Exhibit 82 is a true and correct copy of the GCP
      6
          Pre-Applied Waterproofing Market Plan presentation, drafted February 25,
      7
          2018, production labeled GCP00003532 through GCP00003568.
      8
      9         17. Attached hereto as Exhibit 88 is a true and correct copy of the GCP
     10
          spreadsheet entitled "2021_03_09.Lost Profits (AVM).xlsx," including the
     11
     12   production slip-sheet labeled GCP00069569.

     13         18. Attached hereto as Exhibit 95 is a true and correct copy the GCP
     14
          document entitled "GCP Weekly Americas Pulse 10-1-2020," production
     15
     16   labeled GCP00005641 through GCP00005642.

     17         19. Attached hereto as Exhibit 99 is a true and correct copy of an email
     18
          chain sent August 23, 2019 between GCP Applied Technologies Chief of Staff,
     19
     20   Greg Austin and former GCP Applied Technologies EVP, Global Head,

     21   Specialty Building Material, Naren Srinivasan, bearing the subject "Re:
     22
          clarifaction – C&D letter AVM," production labeled GCP00019663.
     23
     24         20. Attached hereto as Exhibit 101 is a redacted version of a true and

     25   correct copy of GCP's Expert Report of Douglas R. Stieve Regarding
     26
          Infringement ("Stieve Rpt.").
     27
     28
                                               -4-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 5 of 22 Page ID #:1546




      1         21. Attached hereto as Exhibit 102 is a true and correct copy of Exhibit
      2
          13 of GCP's Stieve Rpt.
      3
                22. Attached hereto as Exhibit 104 is a true and correct copy of GCP's
      4
      5   Expert Report of Minh P. Doan ("Doan Rpt.") regarding damages, including
      6
          appendices and exhibits.
      7
                23. Attached hereto as Exhibit 108 is a true and correct copy of AVM's
      8
      9   Expert Rebuttal Report of George Miller ("G. Miller Reb.") regarding damages.
     10
                24. Attached hereto as Exhibit 110 is a true and correct copy of GCP's
     11
     12   Expert Report of Robert Wiercinski regarding infringement.

     13         25. Attached hereto as Exhibit 111 is a true and correct copy of GCP's
     14
          Rebuttal Expert Report of Robert Wiercinski On Validity ("Wiercinski Reb."),
     15
     16   and exhibits.

     17         26. Attached hereto as Exhibit 112 is a true and correct copy of portions
     18
          of the Transcript of Deposition of GCP Applied Technologies, Inc., pursuant to
     19
     20   Fed. R. Civ. P. 30(b)(6) and of Robert Wiercinski, Pursuant to Fed. R. Civ. P.

     21   30 ("Wiercinski Dep. I").
     22
                27. Attached hereto as Exhibit 113 is a true and correct copy of the
     23
     24   Wiercinski Dep. I Errata Sheet ("Wiercinski Err. I").

     25         28. Attached hereto as Exhibit 114 is a true and correct copy of AVM's
     26
          Expert Report of Philip D. Dregger ("Dregger Rpt.") regarding invalidity and
     27
     28   appendices.

                                                 -5-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 6 of 22 Page ID #:1547




      1         29. Attached hereto as Exhibit 115 is a true and correct copy of the
      2
          Declaration of Paul Miller, Vice President of AVM Industries, Inc., in support
      3
          of the Dregger Rpt. and Defendant’s Rule 56(a) Motion No. 4 for Summary
      4
      5   Judgment ("Miller Decl.").
      6
                30. Attached hereto as Exhibit 116 is a true and correct copy of portions
      7
          of the Transcript of Deposition of Douglas R. Stieve, pursuant to Fed. R. Civ. P.
      8
      9   30 ("Stieve Dep.").
     10
                31. Attached hereto as Exhibit 117 is a true and correct copy of Serwin
     11
     12   U.S. Patent No. 7,776,432 ("Serwin").

     13         32. Attached hereto as Exhibit 118 is a true and correct copy of the
     14
          Transcript of Deposition of Robert Wiercinski, pursuant to Fed. R. Civ. P. 30
     15
     16   ("Wiercinski Dep. II").

     17         33. Attached hereto as Exhibit 119 is a true and correct copy of Bartlett
     18
          U.S. Patent No. 5,496,615 ("Bartlett '615").
     19
     20         34. Attached hereto as Exhibit 120 is a true and correct copy of AVM's

     21   Expert Rebuttal Report of Philip Dregger regarding infringement ("Dregger
     22
          Reb").
     23
     24         35. Attached hereto as Exhibit 121 is a true and correct copy of the

     25   United States Patent and Trademark Office ("USPTO") September 9, 2013
     26
          office action for the '879 Patent ("9/9/2013 O.A."), production labeled
     27
     28   GCP00025734 through GCP00025743.

                                                  -6-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 7 of 22 Page ID #:1548




      1            36. Attached hereto as Exhibit 122 is a true and correct copy of GCP's
      2
          response to the 9/9/2013 O.A., dated December 3, 2013 ("12/3/2013 Resp."),
      3
          production labeled GCP00025709 through GCP00025717.
      4
      5            37. Attached hereto as Exhibit 123 is a true and correct copy of the Cease
      6
          & Desist Letter from GCP to AVM dated August 29, 2019, production labeled
      7
          AVMI90100020312 through AVMI90100020313.
      8
      9            38. Attached hereto as Exhibit 124 is a true and correct copy of the
     10
          August 29, 2019 email from GCP to AVM that included the attached Cease &
     11
     12   Desist       Letter,    production     labeled    AVMI90100020310          through

     13   AVMI90100020311.
     14
                   39. Attached hereto as Exhibit 125 is a true and correct copy of the
     15
     16   Transcript of Deposition of AVM Industries, Inc., pursuant to Fed. R. Civ. P.

     17   30(b)(6) and of Amir Rudyan, pursuant to Fed. R. Civ. P. 30 ("Rudyan Dep.").
     18
                   40. Attached hereto as Exhibit 126 is a true and correct copy of the
     19
     20   Transcript of Deposition of AVM Industries, Inc., pursuant to Fed. R. Civ. P.

     21   30(b)(6) and of Paul Miller, pursuant to Fed. R. Civ. P. 30 ("Miller Dep.").
     22
                   41. Attached hereto as Exhibit 127 is a true and correct copy of the
     23
     24   Transcript of Deposition of GCP Applied Technologies, Inc., pursuant to Fed.

     25   R. Civ. P. 30(b)(6) and of Greg Austin, pursuant to Fed. R. Civ. P. 30 ("Austin
     26
          Dep.").
     27
     28
                                                   -7-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 8 of 22 Page ID #:1549




      1          42. Attached hereto as Exhibit 129 is a redacted version of a true and
      2
          correct copy of AVM's "Sample Supplier Commercial Terms Agreement with
      3
          Canadian Distributors," production labeled AVMI90100000761.
      4
      5          43. Attached hereto as Exhibit 130 is a redacted version of a true and
      6
          correct copy of a sample proforma invoice from Jiangsu Canlon Building
      7
          Materials   Co.,   Ltd.   to    AVM     Industries,   Inc.,   production   labeled
      8
      9   AVMI90100000944.
     10
                 44. Attached hereto as Exhibit 131 is a true and correct copy of the
     11
     12   November 18, 2010 Patent Cooperation Treaty International Search Report to

     13   PCT/CN2010/00166 ("11/18/2010 ISR"), to which the '879 Patent claims
     14
          priority.
     15
     16          45. Attached hereto as Exhibit 132 is a true and correct copy of Anspach,

     17   U.S. Patent No. 6,746,764 ("Anspach '764").
     18
                 46. Attached hereto as Exhibit 133 is a true and correct copy of the
     19
     20   February 13, 2014 USPTO "Notice of Allowance and Fee(s) Due" to the '879

     21   Patent ("02/13/2014 N.O.A.").
     22
                 47. Attached hereto as Exhibit 134 is a true and correct copy of the
     23
     24   December 3, 2013 Information Disclosure Statement filed during prosecution of

     25   the '879 Patent ("12/3/2013 I.D.S.").
     26
     27
     28
                                                  -8-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 9 of 22 Page ID #:1550




      1         48. Attached hereto as Exhibit 135 is a true and correct copy of Appendix
      2
          E to the Dregger Rpt., "Inequitable Conduct Claim Chart of U.S. Patent No.
      3
          8,713,879."
      4
      5         49. Attached hereto as Exhibit 136 is a true and correct copy of the
      6
          August 13, 2015 USPTO office action for the '196 Patent ("08/13/2015 O.A.").
      7
                50. Attached hereto as Exhibit 137 is a true and correct copy of the W.R.
      8
      9   Grace & Co.-Conn., predecessor of GCP, 08/13/2015 O.A. response for the '196
     10
          Patent dated November 2, 2015 ("11/2/2015 Resp.").
     11
     12         51. Attached hereto as Exhibit 138 is a true and correct copy of Robert

     13   Wiercinski's USPTO "Declaration (37 CFR 1.63) For Utility or Design
     14
          Application Using an Application Data Sheet (37 CFR 1.76)" for the '879
     15
     16   Patent.

     17         52. Attached hereto as Exhibit 139 is a true and correct copy of the
     18
          Declaration of Amir Rudyan, President and CEO of AVM Industries, Inc., in
     19
     20   support of Defendant's Rule 56(a) Motion No. 6 for Summary Judgment

     21   ("Rudyan Decl.").
     22
                53. Attached hereto as Exhibit 140 is a true and correct copy of Seth U.S.
     23
     24   Patent No. 7,968,171 ("Seth '171").

     25         54. Attached hereto as Exhibit 141 is a true and correct copy of
     26
          Wiercinski U.S. Patent Publication No. 2007/0044397 ("Wiercinski '397 Pub")
     27
     28
                                                -9-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 10 of 22 Page ID
                                 #:1551



   1         55. Attached hereto as Exhibit 142 is a true and correct copy of the
   2
       Wiercinski PCT Publication No. WO 2009/009659 ("Wiercinski '659 Pub").
   3
             56. Attached hereto as Exhibit 143 is a true and correct copy of Tajima
   4
   5   U.S. Patent No. 3,937,640 ("Tajima").
   6
             57. Attached hereto as Exhibit 144 is a true and correct copy of Jacobs
   7
       U.S. Patent Publication No. 2007/0218251 ("Jacobs").
   8
   9         58. Attached hereto as Exhibit 145 is a true and correct copy of Bartek
  10
       U.S. Patent No. 7,442, 270 ("Bartek '270").
  11
  12         59. Attached hereto as Exhibit 146 is a true and correct copy of

  13   Aschenbeck U.S. Patent No. 7,238,408 ("Aschenbeck").
  14
             60. Attached hereto as Exhibit 147 is a true and correct copy of
  15
  16   Getlichermann U.S. Patent Publication No. 2006/0110996 ("Getlichermann").

  17         61. Attached hereto as Exhibit 148 is a true and correct copy of
  18
       Wiercinski U.S. Patent No. 7,634,877 ("Wiercinski '877").
  19
  20         62. Attached hereto as Exhibit 149 is a true and correct copy of the

  21   Strategic Highway Research Program publication entitled "Synthesis of Current
  22
       and Projected Concrete Highway Technology" by David Whiting, et. al.
  23
  24   ("Whiting").

  25         63. Attached hereto as Exhibit 150 is a true and correct copy of Preprufe®
  26
       360R and 160R technical datasheets published 2007-2008.
  27
  28
                                               -10-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 11 of 22 Page ID
                                 #:1552



   1         64. Attached hereto as Exhibit 151 is a true and correct copy of Preprufe®
   2
       360R and 160R technical datasheets published as early as 2002.
   3
             65. Attached hereto as Exhibit 152 is a true and correct copy of Preprufe®
   4
   5   300R and160R technical datasheets published as early as 2007.
   6
             66. Attached hereto as Exhibit 153 is a true and correct copy of AVM's
   7
       Final Invalidity Contentions and exhibits.
   8
   9         67. Attached hereto as Exhibit 154 is a true and correct copy of AVM's
  10
       Final Invalidity Contentions Exhibit A, claim charts which provide the legal
  11
  12   standard for patent invalidity and unenforceability.

  13         68. Attached hereto as Exhibit 155 is a true and correct copy of AVM's
  14
       Final Invalidity Contentions Exhibit B, claim charts for invalidity of the '879
  15
  16   Patent under 35 U.S.C. §102 in view of Serwin '432 and Fensel '007.

  17         69. Attached hereto as Exhibit 156 is a true and correct copy of AVM's
  18
       Final Invalidity Contentions Exhibit C, claim charts for invalidity of the '879
  19
  20   Patent under 35 U.S.C. §103 for obviousness.

  21         70. Attached hereto as Exhibit 157 is a true and correct copy of AVM's
  22
       Final Invalidity Contentions Amended Exhibit D, submitted as Appendix E to
  23
  24   the Dregger Rpt., claim charts for invalidity of the '879 Patent under 35 U.S.C.

  25   §103 for obviousness to Anspach '764 in view of Bartlett '615 in view of
  26
       Preprufe® 360R/160R membranes and/or Preprufe® 360R/160R Technical
  27
  28   Datasheets.

                                              -11-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 12 of 22 Page ID
                                 #:1553



   1         71. Attached hereto as Exhibit 158 is a true and correct copy of the
   2
       October 21, 2021 Chinese National Intellectual Property Administration's
   3
       "Examination Decision of Request for Invalidation," declaring GCP Applied
   4
   5   Technologies Inc.'s Patent No. CN201310606068.X invalid.
   6
             72. Attached hereto as Exhibit 159 is a true and correct copy of the
   7
       English translation to Exhibit 157.
   8
   9         73. Attached hereto as Exhibit 160 is a true and correct copy of the
  10
       Declaration of Samuel Chong, translator for Welocalize Translations, in support
  11
  12   of the English translation (Ex. 158) of Exhibit 157.

  13         74. Attached hereto as Exhibit 161 is a true and correct copy of the
  14
       Transcript of Deposition of Philip Dregger, pursuant to Fed. R. Civ. P. 30
  15
  16   ("Dregger Dep.").

  17         75. Attached hereto as Exhibit 162 is a true and correct copy of the
  18
       Declaration of Mark Swanson, President of California Building Envelope
  19
  20   Representatives, Co. and an independent sales representative for AVM

  21   Industries, Inc., in support of Defendant’s Rule 56(a) Motion No. 5 for Partial
  22
       Summary Judgment ("Swanson Decl.").
  23
  24         76. Attached hereto as Exhibit 163 is a true and correct copy of the

  25   Declaration of Geoff Czapla, employed by Bowman Construction Supply as an
  26
       independent sales representative for AVM Industries, Inc., in support of
  27
  28
                                              -12-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 13 of 22 Page ID
                                 #:1554



   1   Defendant’s Rule 56(a) Motion No. 5 for Partial Summary Judgment ("Czapla
   2
       Decl.").
   3
             77. Attached hereto as Exhibit 164 is a true and correct copy of the
   4
   5   Declaration of Brad Stare, Director of Sales - West for AVM Industries, Inc., in
   6
       support of Defendant’s Rule 56(a) Motion No. 5 for Partial Summary Judgment
   7
       ("Stare Decl.").
   8
   9         78. Attached hereto as Exhibit 165 is a true and correct copy of the
  10
       Declaration of Asher Rudyan, sales representative for AVM Industries, Inc., in
  11
  12   support of Defendant’s Rule 56(a) Motion No. 5 for Partial Summary Judgment

  13   ("Rudyan II Decl.").
  14
             79. Attached hereto as Exhibit 166 is a true and correct copy of the
  15
  16   Declaration of Kyle Stimpson, sales representative for AVM Industries, Inc., in

  17   support of Defendant’s Rule 56(a) Motion No. 5 for Partial Summary Judgment
  18
       ("Stimpson Decl.").
  19
  20         80. Attached hereto as Exhibit 167 is a true and correct copy of the

  21   Declaration of Lyrrad Pittard, employed by Klad Envelop Solutions –
  22
       Ontario/Quebec and an independent sales representative for AVM Industries,
  23
  24   Inc., in support of Defendant’s Rule 56(a) Motion No. 5 for Partial Summary

  25   Judgment ("Pittard Decl.").
  26
  27
  28
                                            -13-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 14 of 22 Page ID
                                 #:1555
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 15 of 22 Page ID
                                 #:1556



   1
        EXHIBIT                             DESCRIPTION
   2
        NUMBER
   3
             1       Dkt. 40, Second Amended Complaint
   4
             2       NOT USED
   5
             3       NOT USED
   6
             4       U.S. Patent No. 8,713,879 (" '879 Patent")
   7
             5       NOT USED
   8
             6       NOT USED
   9
             7       NOT USED
  10
             8       NOT USED
  11
             9       NOT USED
  12
  13        10       NOT USED

  14        11       NOT USED

  15        12       NOT USED

  16        13       NOT USED

  17        14       NOT USED

  18        15       NOT USED

  19        16       NOT USED
  20        17       NOT USED
  21        18       NOT USED
  22        19       NOT USED
  23        20       NOT USED
  24        21       NOT USED
  25        22       NOT USED
  26        23       NOT USED
  27        24       U.S. Patent No. 9,746,196 ("the '196 Patent")
  28
                                           -15-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 16 of 22 Page ID
                                 #:1557



   1        25       NOT USED
   2        26       GCP Pre-Applied Waterproofing Presentation March 18, 2019
   3        27       NOT USED
   4        28       NOT USED
   5        29       NOT USED
   6        30       NOT USED
   7        31       NOT USED
   8        32       NOT USED
   9        33       NOT USED
  10        34       NOT USED
  11        35       NOT USED
  12        36       NOT USED
  13        37       NOT USED
  14        38       NOT USED
  15
            39       NOT USED
  16
            40       NOT USED
  17
            41       NOT USED
  18
            42       NOT USED
  19
            43       NOT USED
  20
            44       NOT USED
  21
            45       NOT USED
  22
            46       NOT USED
  23
            47       NOT USED
  24
            48       NOT USED
  25
            49       NOT USED
  26
            50       NOT USED
  27
            51       NOT USED
  28
                                         -16-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 17 of 22 Page ID
                                 #:1558



   1        52       NOT USED
   2        53       NOT USED
   3        54       NOT USED
   4        55       NOT USED
   5        56       NOT USED
   6        57       NOT USED
   7        58       NOT USED
   8        59       NOT USED
   9        60       NOT USED
  10        61       NOT USED
  11        62       NOT USED
  12        63       NOT USED
  13        64       NOT USED
  14        65       NOT USED
  15
            66       White Cement Concrete ("Farny Pub.")
  16
            67       Serwin U.S. Patent No. 7,776,432 ("Serwin '432")
  17
            68       NOT USED
  18
            69       Fensel U.S. Patent No. 6,933,007 ("Fensel '007")
  19
            70       Metzler U.S. Patent No. 4,218,260 ("Metzler '260")
  20
            71       Wiercinski U.S. Patent No. 6,500,520 ("Wiercinski '520")
  21
            72       Solar Reflectance Values of Concrete ("Marceau Pub")
  22
            73       A Description of Some Oregon Rocks and Minerals
  23
                     ("Hollis Pub")
  24
            74       White Cement – Properties, Manufacture, Prospects
  25
                     ("Moresová Pub")
  26
            75       NOT USED
  27
            76       NOT USED
  28
                                          -17-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 18 of 22 Page ID
                                 #:1559



   1        77       NOT USED
   2        78       NOT USED
   3        79       NOT USED
   4        80       GCP 2016 National Sales Meeting Pre-Applied Waterproofing
   5                 Presentation
   6        81       NOT USED
   7        82       GCP Pre-Applied Waterproofing Market Plan 02.25.18
   8        83       NOT USED
   9        84       NOT USED
  10        85       NOT USED
  11        86       NOT USED
  12        87       NOT USED
  13        88       Bates No.: GCP00069569
  14                 "2021_03_09.Lost Profits (AVM).xlsx"
  15        89       NOT USED
  16        90       NOT USED
  17
            91       NOT USED
  18
            92       NOT USED
  19
            93       NOT USED
  20
            94       NOT USED
  21
            95       GCP Weekly America's Pulse – 10/1/20
  22
            96       NOT USED
  23
            97       NOT USED
  24
            98       NOT USED
  25
            99       Email chain dated 8/23/2019:
  26
                     "RE: clarification - C&D letter to AVM"
  27
           100       NOT USED
  28
                                          -18-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 19 of 22 Page ID
                                 #:1560



   1       101       Redacted Expert Report of Douglas R. Stieve Regarding
   2                 Infringement ("Stieve Rpt.")
   3       102       Select Exhibits of Stieve Rpt. (Exhibit 13)
   4       103       NOT USED
   5       104       Expert Report of Minh P. Doan ("Doan Rpt.")
   6       105       NOT USED
   7       106       NOT USED
   8       107       NOT USED
   9       108       Expert Rebuttal Report of George Miller ("G. Miller Reb.")
  10       109       NOT USED
  11       110       Expert Report of Robert Wiercinski
  12                 ("Wiercinski Rpt.")
  13       111       Rebuttal Expert Report of Robert Wiercinski on Validity
  14                 ("Wiercinski Reb.")
  15       112       Portions of the Wiercinski Deposition 4/20/2021 Transcript
  16                 ("Wiercinski Dep. I")
  17       113       Wiercinski Deposition 4/20/2021 Errata Sheet
  18                 ("Wiercinski. Err. I")
  19       114       Expert Report of Philip Dregger ("Dregger Rpt.")
  20
           115       Declaration of Paul Miller 9/22/2021 ("Miller Decl.")
  21
           116       Portions of the Stieve Deposition Transcript 10/27/2021
  22
                     ("Stieve Dep.")
  23
           117       Serwin U.S. Patent No. 7,776,432 ("Serwin")
  24
           118       Wiercinski Deposition 11/3/2021 Transcript
  25
                     ("Wiercinski Dep. II")
  26
           119       Bartlett U.S. Patent No. 5,496,615 ("Bartlett '615 Patent")
  27
           120       Expert Rebuttal Report of Philip Dreger ("Dregger Reb.")
  28
                                              -19-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 20 of 22 Page ID
                                 #:1561



   1       121       USPTO 9/9/2013 Office Action in '879 Patent prosecution
   2                 ("9/9/2013 O.A.")
   3       122       Grace 12/3/2013 Response to 9/9/2013 O.A.
   4                 ("12/3/2013 Resp.")
   5       123       Cease & Desist Letter from GCP to AVM dated August 29,
   6                 2019; Bates No. AVMI90100020312
   7       124       Email from GCP to AVM with C&D letter attached dated
   8                 August 29, 2019; Bates No. AVMI90100020310
   9       125       Rudyan Deposition 4/30/21 Transcript ("Rudyan Dep.")
  10       126       Miller Deposition 4/22/21 Transcript ("Miller Dep.")
  11       127       Austin Deposition 4/23/21 Transcript ("Austin Dep.")
  12       128       NOT USED
  13       129       Redacted Sample Supplier Commercial Terms Agreement with
  14                 Canadian Distributors; Bates No. AVMI90100000761
  15       130       Redacted Sample Proforma Invoice from Jiangsu Canlon
  16                 Building   Materials    Co.,   Ltd.   to   AVM;    Bates   No.
  17                 AVMI90100000944
  18       131       Patent Cooperation Treaty 11/18/2010 International Search
  19                 Report to PCT/CN2010/00166 ("11/18/2010 ISR")
  20       132       U.S. Patent No. 6,746,764 ("Anspach '764")
  21       133       USPTO 02/13/2014 Notice of Allowance and Fee(s) Due
  22                 ("02/13/2014 N.O.A.")
  23       134       Grace 12/3/2013 Information Disclosure Statement to '879
  24                 Patent ("12/3/2013 I.D.S.")
  25
           135       Dregger Rpt. Appendix E: Inequitable Conduct Claim Chart of
  26
                     U.S. Patent No. 8,713,879
  27
           136       USPTO 08/13/2015 Office Action in '196 Patent prosecution
  28
                                            -20-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 21 of 22 Page ID
                                 #:1562



   1                 ("08/13/2015 O.A.")
   2       137       Grace 11/2/2015 Response to 8/13/2015 O.A.
   3                 ("11/2/2015 Resp.")
   4       138       Wiercinski Oath/Declaration for '879 Patent
   5       139       Declaration of Amir Rudyan ("Rudyan Decl.")
   6       140       Seth U.S. 7,968,171
   7       141       Wiercinski U.S. Pat. Pub. No. 2007/0044397
   8                 ("Wiercinski '397")
   9       142       Wiercinski PCT Pub. No. WO 2009/009659 ("Wiercinski '659")
  10       143       Tajima U.S. Patent No. 3,937,640 ("Tajima")
  11       144       Jacobs U.S. Pat. Pub. No. 2007/0218251 ("Jacobs")
  12       145       Bartek U.S. Patent No. 7,442,270 ("Bartek '270")
  13       146       Aschenbeck U.S. Patent No. 7,238,408 ("Aschenbeck")
  14       147       Getlichermann       U.S.      Pat.   Pub.   No.    2006/0110996
  15                 ("Getlichermann")
  16       148       Wiercinski U.S. Patent No. 7,634,877 ("Wiercinski '877")
  17       149       Synthesis of Current and Projected Concrete Highway
  18                 Technology ("Whiting Pub")
  19
           150       Preprufe® 300R/160R Technical Datasheet 2007-2008
  20
           151       Preprufe® 300R & 160R Technical Datasheet 2002
  21
           152       Preprufe® 300R & 160R Technical Datasheet 2007
  22
           153       Final Invalidity Contentions and Exhibits
  23
           154       Final Invalidity Contentions Ex. A
  24
           155       Final Invalidity Contentions Ex. B
  25
           156       Final Invalidity Contentions Ex. C
  26
           157       Final Invalidity Contentions Amended Ex. D
  27
           158       "Examination Decision on Request for Invalidation"
  28
                                            -21-
Case 2:19-cv-07475-MWF-RAO Document 131 Filed 11/17/21 Page 22 of 22 Page ID
                                 #:1563



   1       159       "Examination Decision on Request for Invalidation"- Eng.
   2                 Translation
   3       160       Declaration of Samuel Chong, Cert of Translation
   4       161       Deposition of Philip Dregger 11/2/2021 ("Dregger Dep.")
   5       162       Declaration of Mark Swanson ("Swanson Decl.")
   6       163       Declaration of Geoff Czapla ("Czapla Decl.")
   7       164       Declaration of Brad Stare ("Stare Decl.")
   8       165       Declaration of Asher Rudyan ("Rudyan II Decl.")
   9       166       Declaration of Kyle Stimpson ("Stimpson Decl.")
  10       167       Declaration of Lyrrad Pittard ("Pittard Decl.")
  11       168       Minh P. Doan Deposition 11/01/21 Transcript ("Doan Dep.")
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                           -22-
